ma ROE SCO a edt Lg
Debtor 7 MELODY A FUHLER
“Esttam SC*”:C*C ns ve Taal Mame
Deebtor 2 JOHN C FUHLER, JR.
(Spouse, Tings Sat eeme Midehe Mati Lest Wlame
United States Bankruptey Gourt for the District of Arizona
Case number 2:24-bk-01501-EPB
i} kncran)
Official Form 427
Cover Sheet for Reaffirmation Agreement 4245

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it ta the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4004.

Explain the Repayment Tenns of the Reaffirmation Agreement

Bae

- Who tr the crane? JPMorgan Chase Bank, N.A.
Name of the creditor

a

- Howmuch isthe debt? 6) the date that the bankruptcy caseis fled $11,572.55
To be paid under the reaffirmation agreement $11,299.98

3295.28 — permonth for 44 manthe (if fixed interest rate)

is. What is the Annual t
P Bercentage Rate (APR) Before the bankruptcy cage was filed 6.04 % i
i of interest? (See t
i Bankruptcy Code Under the reaffirmation agreement 6.04 % i Five rate |
| § 524(K)(3(E).) (J Adjustable rate i
| 1
'4. Does collateral secure g 2018 Subaru - Crosstrek

ieee? - JEZLAPAB ESR SS —@$ A???
MA Yes. Describe the coltateral, eens

| Current market value 5 a2 31. 00

NADA es
ls Does the creditor assert
| that the debt is 5d No
| nondischargeabla? =e Yes, Attach an apace of the nature of the debt and the basis for acca that the debt is eoceaeacheageaas

Schedule I) Your income 8
(Official Form 1061) amd
i Sehedule J: Your &6. Combined monthly income from

| Expenses (Official Foo line 12 of Schedule | ’ after payroll deductions
| 106), fill in the amounts,

!
i 8b. Monthly experses from line 22¢ of 5 YQ YA2u « f, Monthly expenses ae a it

Schedule J
6c. Monthly payments on all om ¢ 3 69. Monthly payments on all woe -
I reaffirmed debts net listed on ——— reaffirmed debts not inchuded in —
| Schedule J monthly expenses
6d. Scheduled net monthly income . b t 6h. Present net monthly income & \S-
Subtract hnes 6b and 5c from 6a. Subtract lines 6f and &g from 6a,
If the total is less than 0, put the If the total is jess than 6, put the
humiber in brackets, number in brackets.
7
Official Form 427 Cover Sheet for Reaffirmation Agreament page

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cet? 4 MELODY A FUHLER Case number irimewn,_2:24-bk-01501-EPB

First Maree Wace ane ‘anh Marre

i? Ara the income amounts ac

| onlinas 6a and fe UI Yes, Explain why they are ciferent and complete line 10.
| different?
ig, Are the expense Wino

amounts an lines 6b QO) Yes. Explain why they are different and complete line 10.

| and ef ditterent?

'§. Is the net monthly No

income in line Gh less Yes. A presumption of hardship anges (unless the creditor is a credit union}.
than 07 Explain how the debtor will make manthly payments on the reaffirmed debt and pay other living expenses.
Complete line 10.

{10. oe | certify that each explanation on lines 7-8 is true and comect.
any anawer on lines 7-0
Yes. the Gebbor must sign
here.

x x

if all the anawers on lines 7-8 Signature of Debtor 4 Signature of Gebter 2 (Spouse Only ina Joint Case)
are Mo, go bo lire 11,

the debtor in negotiating “es. Has the attorney executed a declaration or an affidavit io support the reaffirmation agraement?
the reaffirmation O No

|
'
|
i141, Did an attorney represent No
i
| ;
agreement?
1 “Bk ves
|

--.

Whoever fills out this form =| certify that the attached agreament is a true and correct copy of the reaffirmation agreement between the
must sign hare, parties identified on this Cover Sheet for Reaffirmation Agreement.

% /s/ Josephine E. Salmon nae 04/09/2024

Signature MM ORY

Josephine E. Salmon, Attorney for Creditor

Primed Naune

Check one

[J Debtor or Debtor's Attorney
Wcreditor or Creditors Attomey

Official Form 427 Cover Sheet for Reaffirmation Agreement page ¢

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Check one.
O Presumption of Undue Hardship
o Presumption of Undue Hardship
See Debtor's Statement in Support af
Reaffirmation, Part I below, to determine
which box to ehecle.

UNITED STATES RANKRIIPTCY COURT

District of Arizona

Debtor In te MELODY A FUHLER Case No, 2:24-bk-01501-EPB
JOHN C FUHLER, JR.

Chapter _7

REAFFIRMATION DOCUMENTS

Name of Creditor: JPMorgan Chase Bank, N.A.

Check this box if Creditor is a Credit Union

I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found
in Part V of this Reaffirmation Documents packct.

|. Brief description of the original agreement being reaffirmed: AUTO LOAN
For example, auto foan

2. AMOUNT REAFFIRMED: § 11,299.98

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This
may include unpaid principal, interest, and fees and costs (if any) arising on or
before the date you sign this Reaffirmation Agreement.
See the definition af “Amount Reaffirmed” in Part V.C below.
3. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 6.04 %,
See definition af “Annual Percentage Rate” in Part F.C below.

This is a (checkone) WA Fixed rate O Variable rate

If the loan has a variabie rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

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4. Reaffirmation Agreement Repayment Terms:
A If fixed term, $295.28 per month for 44 months starting on__ 4/11/24

Of not fixed term, describe repayment terms:

5. Describe the collateral, if any, securing the debt:
2018 Subaru - Crosstrek
Description: JF2GTADC3)8337346

Current Market Value $19,375.00 NADA

6. Did the debt that ts being reaffirming arise from the purchase of the collateral described
above?

fi Yes O No

[f yes, what was the purchase price for the collateral? $17,738.47
If no, what was the amount of the original loan? $

7. Detail the changes made by this Reaffirmation Agreement to the most recent credit terms on
the reaffirmed debt and any related agreement:

Terms as of the Terms After
Date of Bankruptcy Reaffirmation
Balance due fincluding
fees and costs) $11,572.55 $ 11,299.98
Annual Percentage Rate 6.04 % 6.04 %
Monthly Payment $295.28 $295.28

8. 0 Check this box if the creditor is agreeing to provide you with additional future credit in
connection with this Reaffirmation Agreement. Describe the credit limit, the Annual
Percentage Rate that applies to future credit and any other terms on future purchases and
advances using such credit:

Ii. DEBTOR’S STATEMENT IN SUPPORT
OF REAFFIRMATION AGREEMENT

1. Were you represented by an attorney during the course of negotiating this agreement?

Check one. Pes ANo

2. Is the creditor a credit union?

Check one. (Yes JKNo

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3. Lf your answer to EITHER question |. or 2. above is “No” complete a. and b. below.
a.. My present monthly income and expeuses are:

i. Monthly income from all sources after payroll deductions 20, “4
{take-home pay plus any other income) $ ;

ii. Monthly expenses (including all reaffirmed debts except

this one) § UW Ok 1

in. Amount available to pay this reaffirmed debt (subtract i. from 1.) 3 Al l ‘ a
iv. Amount of monthly payment required for this reaffirmed debt % BW OF

ifthe monthly payment on this reaffirmed debt (line iv.) is greater than the amount you have
available to pay this reaffirmed debt (line tii), you must check the box at the top of page ane that
says “Presumption of Undue Hardship.” Otherwise, you must check the box at the top of page
one that says “No Presumption of Undue Hardship.”

b. [believe this reaffirmation agreement will not impose an undue hardship on my dependents
or on me because:

Check one of the two statements below, if applicable:

PA can afford to make the payments on the reaffirmed debt because my monthly income
is greater than my monthly expenses even after ] include in my expenses the monthly
payments on all debts | am reaffirming, including this one.

I can afford to make the payments on the reaffirmed debt even though my monthly
income is less than my monthly expenses after I include in my expenses the monthly
payments on all debts I am reaffirming, including this one, because: _

Use an additional page if needed for a full explanation.

4. if your answers to BOTH questions 1. and 2. above were “Yes,” check the following
statement, if applicable:

11 believe this reaffirmation agreement is in my financial interest and I can afford to
make the payments on the reaffirmed debt.

Also, check the box at the tap of page one that says “No Presumption of Undue Hardship.”

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HE CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

I (We) hereby certify that:
i. 1 (We) agree to reaffirm the debt described above.
ii. Before signing this reaffirmation agreement, | (we) read the terms disclosed in this
Reaffirmation Agreement (Part I) and the Disclosure Statement, Instructions and
Definitions included in Part V below;

if. The Debtor's Statement in Support of Reaftirmation Agreement (Part 1] above) is
true and complete;

iv, 1am (We are) entering into this agreement voluntarily and fully informed of my
(our) tights and responsibilities; and

v. (We) have received a copy of this completed and signed Reaffirmation Documents

packet.
SIGNATURE(S):
Date ff\ 3-16-24 With Weledy. A Fubler
Qa Sienna) pea
Date Signature

Joint Debtor, ifany

If a joint reaffirmation agreement, both debtors must sign.

Reaffirmation Agreement Terms Accepted by Creditor: Box 29505 AZ1-5757
AG. BOX rs

Creditor _JP Morgan Chase Bank, NLA Phoenix, AZ 85038-9505
Print Name Address
Josephine E. Salmon, Attorney for Creditor is! Josephine E, Salmon 04/09/2024
Print Name of Representative — Sipatere Duie

I¥, CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only ifthe attorney represented the debtor during the course of negotiating this agreement,

[ hereby certify that; (1) this agreement represents a fully informed and voluntary agreement
by the debtor; (2) this agreement does not impose an undue hardship on the debtor or any
dependent of the debtor; and (3) | have fully advised the debtor of the legal effect and
consequences of this agreement and any default under this agreement.

O A presumption of undue hardship has been established with respect to this agreement. In
my opinion, however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship bax is checked on page I and the creditor is
not a Credit Union.

Date 3 |r fLowy Signature of Debtor's wom [few Mes

Print Name of Debtor's Attorney , Abe Mewui i PE

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¥. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation
Agreement (Part I) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to
make sure the decision is in your best interest. If these steps, detailed in Part B below, are not
completed, the reaffirmation agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

1. What are your obligations if you reaffirm a debt? A reaffirmed debt remains your
personal legal obligation. Your reaffirmed debt is not discharged in your bankruptcy
case. That means that if you default on your reaffirmed debt after your bankruptcy case is
over, your creditor may be able to take your property or your wages. Your obligations
will be determined by the reaffirmation agreement, which may have changed the terms of
the original agreement. If you are reaffirming an open end credit agreement, that
agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions,

2. Are you required to enter into a reaffirmation agreement by any law? No, you are
not required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your
best interest, Be sure you can afford the payments that you agree to make.

3, What if your creditor has a security interest or lien? Your bankruptcy discharge does
not eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security
interest, deed of trust, mortgage, or security deed. The property subject to a licn is often
referred to as collateral, Even if you do not reaffirm and your personal liability on the
debt is discharged, your creditor may still have a right under the lien to take the collateral
if you do not pay or default on the debt. If the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than
reaffirm the debt. To redeem, you make a single payment to the creditor equal to the
current value of the collateral, as the parties agree or the court determines.

4. How soon do you need to enter into and file a reaffirmation agreement? If you
decide to enter into a reaffirmation agreement, you must do so before you receive your
discharge. After you have entered into a reaffirmation agreement and all parts of this
Reaffirmation Documents packet requiring signature have been signed, either you or the
creditor should file it as soon as possible. The signed agreement must he filed with the
court no later than 60 days after the first date set for the meeting of creditors, so that the
court - have time to schedule a hearing to approve the agreement if approval is
required.

5. Can you cancel the agreement? You may rescind (cancel) your reaffirmation
agreement at any time before the bankruptcy court enters your discharge, or during the
60-day period that begins on the date your reaffirmation agreement is filed with the court
whichever occurs later. To rescind (cancel) your reaffirmation agreement, you nvust
notify the creditor that your reaffirmation agreement is rescinded (or canceled).
Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.

a

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6. When will this reaffirmation agreement be effective?

a. Lf you were represented by an attorney during the negotiation of your
reaffirmation agreement

i. Wf the creditor is not a Credit Union, your reaffirmation agreement becomes
effective upon filing with the court unless the reaffirmation is presumed to be an
undue hardship in which case the agreement becomes effective only afier the
court approves it;

ii. if the creditor Is a Credit Union, your reaffirmation agreement becomes
effective when it is filed with the court.

b. If you were not represented by an attorney during the negotiation of your
reaffirmation agreement, the reaffirmation agreement will not be effective unless the
court approves it. To have the court approve your agreement, you must file a motion.
See Instruction 5, below. The court will notify you and the creditor of the hearing on
your reaffirmation agreement. You must attend this hearing, at which time the judge will
review your reaffirmation agreement. |f the judge decides that the reaffirmation
agreement is in your best interest, the agreement will be approved and will become
effective. However, if your reaffirmation agreement is for a consumer debt secured by a
mortgage, deed of trust, security deed, or other lien on your real property, like your
home, you do not need to file a motion or get court approval of your reaffirmation
agreement.

7. What if you have questions about what a creditor can do? If you have questions
about reaffirming a debt or what the law requires, consult with the attorney who helped
you negotiate this agreement. If you do not have an attorney helping you, you may ask
the judge to explain the effect of this agreement to you at the hearing to approve the
reaffirmation agreement. When this disclosure refers to what a creditor “may” do, it is
not giving any creditor permission to do anything. The word “may” is used to tell you
what might occur if the law permits the creditor to take the action.

B, INSTRUCTIONS

1. Review these Disclosures and carefully consider the decision to reaffirm. If you want to
reaffirm, review and complete the information contained in the Reaffirmation Agreement
(Part I above). If your case is a joint case, both spouses must sign the agreement if both
are reaffirming the debt.

2. Complete the Debtor's Statement in Support of Reaffirmation Agreement (Part II above).
Be sure that you can afford to make the payments that you are agreeing to make and that
you have received a copy of the Disclosure Statement and a completed and signed
Reaffirmation Agreement.

3, Ifyou were represented by an attorney during the negotiation of your Reaffirmation
Agreement, your attorney must sign and date the Certification By Debtor’s Attorney
section (Part [V above).

4. You or your creditor must file with the court the original of this Reaffirmation
Decuments packet and a completed Reaffirmation Agreement Cover Sheet (Official
Bankruptey Form 427).

5. If you are not represented by an attorney, you must also complete and file with the court
a separate document entitled “Motion for Court Approval of Reaffirmation Agreement
unless your reaffirmation agreement is for a consumer debt secured by a lien on your
real property, such as your home. You can use Form B2400B to do this.

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c. DEFINITIONS

1. “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay
(reaffirm) by entering into this agreement. The amount of debt includes any unpaid fees
and cosis arising on or before the date you sign this agreement that you are agreeing to
pay. Your credit agreement may obligate you to pay additional amounts that arise after
the date you sign this agreement. You should consult your credit agreement to determine
whether you are obligated to pay additional amounts that may arise after the date of this
agreement,

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage Rate (as opposed to the “stated interest
rate”) tells you the full cost of your credit including many of the creditor’s fees and
charges. You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)CA)fiv).
It is owned and controlled by and provides financial services to its members and typically
uses words like “Credit Union” or initials like “C.U.” or “F.C.U." in its name.

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